Case 4:21-cv-05095-SAB                     ECF No. 1-3                    filed 06/21/21                 PageID.40 Page 1 of 20

       Case 4:21-cv-05066                     ECF No. 1-2                filed 04/21/21               PageID.48 Page 2 of 21


 AFN # 1883943 MULTI Recorded 09/04/2018 12:38 PM Page: 1 of 19 Filing Instrument
 $315.00 Matt Beaton, Auditor, Franklin County, WA. SIMPLIFILE




          Return recorded document to
          RABO AGRIFINANCE LW
          14707 N Outer 40 Rd , Suite 400
          Chesterfield, MO 63017
          Affn Closing Department




         CHICAGO TITLE INSURANCE
         (Coa     —1 100    160 7—q
                                                                                                        3E PrnpertiesfEFP MCA 2015
                                                                                                  Real Estate Term Loan 3
         Please print or type Information WASHINGTON STATE RECORDER'S Cover Sheet (ROW 65 04)
           Document Title• MORTGAGE, ASSIGNMENT OF RENTS AND SECURITY AGREEMENT
           Reference Number(s) of Documents assigned or released N/A
            Grantors) (Last name, first name, initials)
                       3E Properties
            Grantee RABO AGRIFINANCE LLC, a Delaware limited liability company. as agent
           Legal description (abbreviated- i e lot, block, plat Or section, township, range)
                       Lots 1 and 2 Short Plat 98,09
                       Additional legal is an page        of document
           Assessor's Property Tax PareellAccount.Number .                      ❑ Assessor Tax # not yet assigned


          The Auditor/Recorder will rely on the informatton provided on the form The staff edt not need the document to verify the
          accuracy or completeness of the indexing information provided herein.
          I am requesting an emergency nonstandard recording for an additional fee as provided in RCW TB 010 I understand that
          the recording processing requirements may cover up or otherwise obs ut\e some pt of the    of the original document
                                                                7

                                                                                                        Sigma)F of Requesting Party




                                                                                                                                         Exhibit C
                                                                                                                                         Exhibit C
                                                                                                                                      Page 1
                                                                                                                                      Page 1 of
                                                                                                                                             of 20
                                                                                                                                                20
Case 4:21-cv-05095-SAB                   ECF No. 1-3                   filed 06/21/21            PageID.41 Page 2 of 20

        Case 4:21-cv-05066                   ECF No. 1-2               filed 04/21/21          PageID.49 Page 3 of 21




        Return recorded document to:
        RABO AGRIFINANCE LLC
        14767 N. Outer 40 Rd., Suite 400
        Chesterfield, MO 63017
       .Attn: Closing Department




       ctilOWO TITLE INARANCE
       coati Ie.ov.,,                                                                                 3E Properties/EFP MCA 2018
                                                                                                Real Estate Term Loan 3:
      Please print or typein ert:nation WASHINGTON STATE RECORDER'S Cover Sheet (RCW 65.04)
         Document Title; MORTGAGE, ASSIGNMENT OF RENTS AND SECURITY AGREEMENT
        Reference Number(s) of Documents assigned or released: N/A
         Grantor(s) (Lastname, first name, initials)
                    3E Properties
         Grantee: RABO AGRIFINANCE LLC, a Delaware limited liability company, as agent
        Legal description (abbreviated: i.e. lot, block, plat or section, township, range)
                    Lots 1 and 2 Short Plat 98.09
                    Additional legal is on page        _of document.
        Assessor's Property Tax ParcellAccount Number:                        0 Assessor Tax # not yet assigned


       The Auditor/Recorder will rely on the information provided on the form. The staff will notread the document to verify the
       accuracy or completeness of the indexing information provided herein.
       I am reqUesting an emergency nonatandard recording for an additional fee as provided.in RCIAI / 608.010. I understand that
       the recording processing requirements may cover up or ofhenWise (110 Q some part of th       t of the original document


                                                                                                      Signatui of Requesting Party




                                                                                                                                        Exhibit C
                                                                                                                                        Exhibit C
                                                                                                                                     Page 2 of
                                                                                                                                     Page 2 of 2O
                                                                                                                                               20
Case 4:21-cv-05095-SAB                    ECF No. 1-3                 filed 06/21/21               PageID.42 Page 3 of 20

        Case 4:21-cv-05066                    ECF No. 1-2              filed 04/21/21             PageID.50 Page 4 of 21




                                                                                                            3E Properhes/EFP MCA 2018
                                                                                                     Real Estate Term Loan 3

                                    MORTGAGE, ASSIGNMENT OF RENTS AND SECURITY AGREEMENT
                                                          (Franklin County, Washington)
        NOTICE TO RECORDER THIS DOCUMENT ALSO CONSTITUTES A FIXTURE FILING THAT SHALL HAVE AN EFFECTIVE
        PERIOD UNTIL THIS TRUST DEED IS RECONVEYED OR SATISFIED OF RECORD OR ITS EFFECTIVENESS OTHERWISE
                                            TERMINATES AS TO THE LAND
                  This mortgage ("Mortgage') is dated as of August 9, 2018 It is by 3E PROPERTIES, a Washington general partnership
        ("Grantor"), to and in favor of RABO AGRIFINANCE LLC, a Delaware limited liability company, as agent for itself and the other
        Secured Parties (defined herein) under the Collateral Agency Agreement (defined herein, and Raba AgriFinance LLC, in that
        capacity, "Mortgagee")
                  RABO AGRIFINANCE LLC, a Delaware limited liability company, as Lender ("Lender") has agreed to make up to
       $850,000 00 in loans to Borrower (as defined in the Facility Sheet(s)) under the terms and conditions of the Master Credit
       Agreement between Grantor and Lender dated August 9, 2018, as may be amended, modified, replaced, or supplemented from
       time to time (the "MCA") Each capitalized term used in this Mortgage that is defined in the MCA and not defined In this Mortgage
       will have the meaning specified in the MCA This Mortgage will be interpreted in accordance with the Drafting Conventions
                Grantor have or may also enter into certain denvatives transactions under Hedging Agreements with Swap
        Counterparties, under which Grantor has or may incur Hedging Obligations to Swap Counterparties
                  The Loan Obligations (defined in the MCA) may be, from time to time, guaranteed by Guarantor under the terms and
        conditions of one or more guaranties in favor of Collateral Agent The Hedging Obligations are guaranteed by Guarantor under
        the terms and conditions of the Hedging Agreements and/or a separate guaranty of the Hedging Obligations (the MCA, the
        Guaranty, and the Hedging Agreements and any separate guaranty of the Hedging Obligations are herein sometimes individually
        and collectively referred to as the "Debt Instrument")
                  Non-Obligor(s) have an economic interest in Borrower or will obtain some other material financial benefit as a result of
        Secured Parties' entenng into the Secured Obligation Documents (defined herein) Secured Parties require that Non-Obligor
        execute this agreement as a condition of the Secured Obligation Documents
                    TO SECURE repayment of the indebtedness evidenced by the Note (defined herein) and payment and performance of
        all other Secured Obhgations (defined herein), Grantor irrevocably and unconditionally grants, bargains, sells, and conveys to
        Mortgagee, WITH POWER OF SALE wherever located, whether now owned or hereafter acquired or arising, and, except as
        indicated, whether constituting real estate or personal property (collectively, the "Property") (a) the real estate and any interest
        in the real estate located in Franklin County, Washington, and described in EXHIBIT A (the "Land"), (b) all buildings, structures,
        improvements, fixtures, attachments, appliances, equipment, machinery and other articles now or hereafter erected on, affixed or
        attached to, or located in or on the Land, including all wells, watering and irrigation apparatus, pumps, motors, generators, pipes,
        center pivot irrigators and sprinklers, windmills, and fences (the "Improvements"), (c) all easements, rights-of-way and rights
        appurtenant to the Land or used in connection with the Land or as a means of access thereto, (d) the ground water on, under,
        pumped from or otherwise available to the Property or any drainage, retention, ditch, canal, reservoir, or other water rights,
        whether as a result of overlying groundwater rights, contractual rights, or otherwise and whether npanan, appropriative, or
        otherwise, the right to remove or extract any such ground water including any permits, rights or licenses granted by any
        Governmental Authority and any rights granted or created by any easement, covenant, agreement or contract with any Person,
       -WAI any nghTslo which th-e-Prolwty or-Grantor's-entitled with-respect-to surface water    -whether-such rights are-appropriative,
        npanan, prescriptive or otherwise and whether or not pursuant to historical use, contractual agreement, permit or other
        governmental authorization, any water right, water allocation for water not yet delivered, distribution nght, delivery right, any
        proscriptive, contractual, easement or other rights necessary or convenient to convey any water to the Property, water storage
        right, or other water-related entitlement appurtenant to or otherwise applicable to the Property by virtue of the Property being
        situated within the boundaries of any governmental water district irrigation distnct or other local agency or within the boundaries




                                                                                                                                                Exhibit C
                                                                                                                                                Exhibit C
                                                                                                                                             Page 3
                                                                                                                                             Page 3 of
                                                                                                                                                    of 20
                                                                                                                                                       20
Case 4:21-cv-05095-SAB                       ECF No. 1-3                filed 06/21/21                 PageID.43 Page 4 of 20

       Case 4:21-cv-05066                       ECF No. 1-2             filed 04/21/21              PageID.51 Page 5 of 21




      of any private water company, mutual water company, or other non-governmental entity (collectively, 'Water Rights"), (e) all
      other tenements, hereditaments and appurtenances to the Land; (f) minerals, oil, gas, coal, metallic ores, other minerals and any
      other hydrocarbon substances, minerals, mineral interests, royalties, overriding royalties, production payments, net profit
      interests and other interests and other interests and estates in, under and on the Land and other oil, gas, coal, metallic ores and
      any other mineral interests with which any of the foregoing interests or estates are pooled or unitized, including surface damage
      awards or settlements (the "Mineral Rights"), (g) timber now or hereafter standing or cut, (h) Leases, subleases, licenses,
      occupancy agreements, concessions and other agreements, granting a possessory interest in and to, or the right to extract,
      mine, reside in, sell, or use the Property (collectively, the "Leases") including the Leases described in EXHIBIT B, (t) all utility
      contracts, maintenance agreements, management agreements, service contracts and other agreements directly related to the
      operation and maintenance of the Property, (j) all bushes, groves, trees, plants, vines or other plantings, upon or under the Land
      ("Plantings"), (k) working drawings, instructional manuals, and rights in processes directly related to the operation of the
      Property, (I) other tangible personal property of every kind and description, whether stored on the Land or elsewhere, including
      all goods, materials, supplies, tools, books, records, chattels, furniture, machinery and equipment (except motor vehicles, trailers,
      and Planting, tillage and harvesting equipment rolling stock) or which is in all cases (i) directly related to the operation of the
      Property or acquired in connection with any construction or maintenance of the Land or the Improvements or (ii) affixed or
      installed, or to be affixed or installed, in any manner on the Land or the Improvements or, (iii) described on EXHIBIT B, (m) all
      permits and licenses relating or pertaining to the use or enjoyment of the Property, (n) proceeds of and any unearned premiums
      on any insurance policies covering the Property, including the right to receive and apply the proceeds of any insurance,
      Judgments, or settlements made in lieu thereof, far damage to the Property (the "Insurance Claims"), (o) all awards made for the
      taking by condemnation or the power of eminent domain, or by any proceeding or purchase in lieu thereof, of the whole or any
      part of the Real Estate (the "Condemnation Awards"), (p) money or other personal property of Grantor in addition to the
      foregoing deposited with or otherwise in Mortgagee's or Secured Parties' possession, (q) rights and interests under the Hedging
      Agreements, including all rights to the payment of money from Secured Parties under the Hedging Agreements, and all
      accounts, deposit accounts, and general intangibles, including payment intangibles, descnbed in any of the Hedging
      Agreements, (r) the right, in the name and on behalf of Grantor, upon notice to Grantor, to appear in and defend any action or
      proceeding brought with respect to the Property and to commence any action or proceeding to protect the interest of Mortgagee
      or Secured Parties in the Property, and (s) substitutions, replacements, additions, accessions and proceeds for or to any of the
      foregoing, and all books, records and files relating to any of the foregoing, including, without limitation, computer readable
      memory and data and any computer software or hardware reasonably necessary to access and process such memory and data
                   1.       Secured Obligations. Grantor makes the grant, conveyance, transfer and assignment above, makes the
      irrevocable and absolute assignment in Section 4, and grants the secunty interest under Section 5, to secure payment and
      performance of the following obligations (the "Secured Obligations") in any order of priority that Mortgagee may choose (a) all
      Obligations (defined in the MCA), under one or more Facility Sheets(s) from time to time where Grantor is designated from time
      to time as Borrower, Guarantor or Non-Borrower, including (i) the Real Estate Term Loan 3 Note dated as of the date of this
      Mortgage, from Grantor to Lender in the original principal amount of $850,000 00 (together with all extensions, renewals,
      modifications, substitutions and amendments thereof, the "Note"), (ii) all Hedging Obligations; and (iii) all other indebtedness,
      liabilities and obligations of Grantor to Lender and the Swap Counterpart►es arising pursuant to any of the Transaction
      Documents, whether now existing or hereafter arising, whether direct, indirect, related, unrelated, fixed, contingent, liquidated,
      unliquidated, joint, several, or joint and several, (b) all obligations of Grantor under this Mortgage; (c) all obligations of Grantor to
      Lender, Cooperatieve Rabobank U A , (trading as Rabobank), a foreign banking organization organized as a cooperative bank
      under the laws of The Netherlands ("Rabobank"), and/or Rabobank, N A , a national banking association ("RNA"), or any other
      Affiliate of Lender (Lender, Rabobank and RNA, and any other Affiliate of Lender are herein individually and collectively,
      "Secured Parties"), whether now existing or hereafter incurred or created, whether voluntary or involuntary, whether obligatory or
      non-obligatory, whether due or not due, whether absolute or contingent, or whether incurred directly or acquired by assignment
      or otherwise, under the terms and conditions of any other written instrument or agreement executed by Grantor and which
      specifically recites that those obligations are secured by this Mortgage, and (d) any of the foregoing that arises after the filing of a
      petition by or against Grantor under an Insolvency Proceeding. All Persons whohave or acquire-an-Interestm the Property wit                 --
      be deemed to have received notice of, and will be bound by, the terms of the MCA, the other Transaction Documents, and each
      other agreement or instrument made or entered into in connection with each of the Secured Obligations (the Transaction
      Documents and those other agreements or instruments, the "Secured Obligation Documents") These terms include any
      provisions in the Secured Obligation Documents which permit borrowing, repayment and reborrowmg, or which provide that the

      3E Properiies/EFP MCA 2018
      Mortgage, Assignment °Meals and Searnty Agreement
                                                                         2




                                                                                                                                                     Exhibit C
                                                                                                                                                     Exhibit C
                                                                                                                                                  Page 4
                                                                                                                                                  Page 4 of
                                                                                                                                                         of 20
                                                                                                                                                            20
Case 4:21-cv-05095-SAB                        ECF No. 1-3             filed 06/21/21               PageID.44 Page 5 of 20

       Case 4:21-cv-05066                        ECF No. 1-2          filed 04/21/21             PageID.52 Page 6 of 21




       rate of interest on one or more of the Secured Obligations may vary from time to time This Mortgage does not secure any
       obligation which is unsecured pursuant to the express terms of the MCA or any other document, agreement or instrument
       Without limitation of the foregoing, this Mortgage does not secure the indebtedness, liabilities and obligations of Guarantor as
       guarantor under the terms and conditions of the Guaranty or any other guaranty given by Guarantor to secure the Hedging
       Obligations
                            Future Secured Obligations. The Secured Obligations include future advances made by Mortgagee or
       Secured Parties, at their option, and for any purpose, and at other future Secured Obligations Those future advances and other
       future Secured Obligations are secured to the same extent as if made or incurred on the date of the execution of this Mortgage,
       and have priority as to third Persons with or without actual notice from the lime this Mortgage is filed for record as provided by
       law The total amount of indebtedness secured by this Mortgage may decrease or increase from time to time The unpaid
       balance of any Revolving Line of Credit or Hedging Obligations secured by this Mortgage may at certain times be zero This
       Mortgage wilt remain in full force and effect notwithstanding any zero balance Grantor shall not file for record any notice limiting
       the maximum amount secured by this Mortgage (a "Maximum Amount Notice") A Maximum Amount Notice will be an Event of
       Default (defined herein) Nothing in this Section 2 will constitute a commitment to make additional or future advances which are
       not specified by the other terms of the MCA or enter into future derivatives transactions in any amount
                  3.          Note Maturity Date. The latest date on which any Note matures is October 1, 2025
                    4.        Assignment. Grantor irrevocably and unconditionally assigns to Mortgagee and grants Mortgagee a
       security interest in, the Leases, all rents and other benefits derived from the Leases, and all other issues, profits, royalties,
       bonuses, income and other benefits derived from or produced by the Real Estate, including but not limited to, any monies,
       proceeds, damages, Judgments or payments in Iteu thereof, received by or due to Grantor occasioned by any mineral or
       geothermal exploration, wind energy or drilling activity on or under the Real Estate, all prepaid rents, security deposits and other
       supporting obligations (the "Rents.") Mortgagee may collect Rents with or without taking possession of the Property Mortgagee
       confers upon Grantor a license to collect and retain the Rents as they become due and payable, so long as there is no Event of
       Default (the "License") If an Event of Default has occurred, Mortgagee may terminate the License without notice to or demand
       upon Grantor Mortgagee, by its acceptance of this Mortgage does not assume any duty or obligation under the Leases The
       acceptance by Mortgagee of the assignment of Leases and Rents and profits with all the rights, powers, privileges and authority
       so granted will not obligate Mortgagee to assume any obligations in respect of the Leases and Rents and profits or under the
       Leases, or take any action thereunder or to expend any money or incur any expense or perform or discharge any obligation, duty
       or liability in respect of the Leases and Rents and profits or under the Leases or to assume any obligation or responsibility for the
       nonperformance of the provisions thereof by Grantor
                   5.       Grant of Security Interest. This Mortgage is a security agreement under the Uniform Commercial Code in
       effect in the State of Washington (the "UCC"), and Grantor grants Mortgagee a security interest in and pledges and assigns to
       Mortgagee all of Grantor's right, title and interest in the Property, to the extent characterized as personal property (the
       "Personalty") The address of Grantor adjacent to its signature below is the mailing address of Grantor as debtor under the
       UCC The address for Mortgagee specified in Section 24 is the address for Mortgagee as secured party under the UCC As
       used in this Mortgage, the term "lien" is synonymous with the term "lien and security interest."
                    6.        Warranty of Title Grantor represents and warrants that Grantor lawfully possesses and holds fee simple
       title to all of the Land and the Improvements, that Grantor has the right, power and authority to mortgage, grant, convey and
       assign the Property, and that the Property is unencumbered Grantor covenants that Grantor will warrant and defend generally
       the title to, and ownership and possession of, the Property against all claims and demands Grantor especially agrees and
       declares that the separate estate of each of them, whether vested, contingent or in expectancy, is hereby conveyed and shall be
       bound for the payment and performance of the Secured Obligations
                  7.         Additional Representations. Grantor represents to Mortgagee and Secured Parties that (a) the Property
      - does not represent the proceeds of unlawful activity under any state, federal-or-foreign law, (b)-the-Property includes-all-property-- ---- -
        and rights which may be reasonably necessary or desirable to enable Grantor to use, enjoy and operate the Land and the
        Improvements for the present uses thereof, (c) none of the Land or Improvements is subject to any Lien, offset or claim, (d)
        Grantor owns the Personalty free and clear of any security interests, reservations of title or conditional sales contracts, and there
        is no presently valid financing statement affecting the Personalty on file in any public office, (e) Grantor has title to, or (in the
        case of leased property) valid leasehold Interests in, all of their properties and assets, real and personal, including the properties
       3E Propertfes/EFP MCA 2018
       Mortgage, Assignment of Rents and Secunty Agreement
                                                                         3




                                                                                                                                                  Exhibit C
                                                                                                                                                  Exhibit C
                                                                                                                                               Page 5
                                                                                                                                               Page 5 of
                                                                                                                                                      of 20
                                                                                                                                                         20
Case 4:21-cv-05095-SAB                          ECF No. 1-3              filed 06/21/21                PageID.45 Page 6 of 20

        Case 4:21-cv-05066                         ECF No. 1-2           filed 04/21/21             PageID.53 Page 7 of 21




       and assets and leasehold Interests reflected in the Financial Information (other than any properties or assets disposed of in the
       ordinary course of business), (f) the legal name of Grantor is as appears in the first paragraph of this agreement, (g) Grantor has
       not used any trade name, assumed name or other name except Grantor's name stated in the first paragraph of this agreement,
       (h) 3E Properties, each has its place of business, or its chief executive office, if it has more than one place of business, is located
       at the address adjacent to its signature below, (i) if Grantor is anything other than a natural Person, it has complied with all
       Applicable Laws concerning its organization, existence and the transaction of its business, and is in existence and good standing
       in its state of organization and each state in which it conducts its business; (I) the execution, delivery and performance by
       Grantor of this Mortgage is within the powers and authority of Grantor and has been duly authorized, (k) to Grantor's knowledge,
       this Mortgage does not conflict with any Applicable Law, (I) this Mortgage is a legal, valid and binding agreement of Grantor,
       enforceable against Grantor in accordance with its terms, and any instrument or agreement required hereunder, when executed
       and delivered, will be similarly legal, valid, binding and enforceable; (rn) there has been no Material Adverse Effect as to Grantor
       since the effective date the Financial Information was provided to Mortgagee or Secured Parties, (n) there is no lawsuit, tax claim
       or other dispute pending or to Grantor's knowledge threatened against Grantor or the Property that, if determined adverse to
       Grantor, is reasonably likely to have a Material Adverse Effect, (o) Grantor is not the subject ofany Judgment, (p) this Mortgage
       does not conflict with, nor is Grantor in default on any credit agreement, indenture, purchase agreement, guaranty, capital lease,
       or other investment, agreement, or arrangement presently in effect providing for or relating to extensions of credit in respect of
       which Grantor is in any manner directly or contingently obligated, (q) Grantor has filed all tax returns (federal, state, and local)
       required to be filed and has paid all taxes, assessments, and governmental charges and levies thereon, including interest and
       penalties, (r) Grantor has complied with all current and future laws, regulations and ordinances or other requirements of any
       Governmental Authonty relating to or imposing liability or standards of conduct concerning protection of health or the
       environment or Hazardous Substances ("Environmental Laws"), (s) Grantor has not received any notices of violations of any
       Applicable Laws; and Grantor is in compliance with all Applicable Laws, (t) there are no claims, actions, proceedings or
       investigations pending or threatened against Grantor or affecting the Property with respect to any violations of Applicable Laws,
       (u) Grantor's place of business, or its chief executive office, if it has more than one place of business, is located at the address
       specified below, and (v) unless otherwise disclosed to Mortgagee, Grantor is not a "foreign person" within the meaning of Section
       1445 of the Internal Revenue Code of 1986; and there is no Event of Default or event which, with notice or lapse of time would
       be an Event of Default
                  8.         Information Accurate and Complete. All financial statements and other reports, documents, instruments,
       information and forms of evidence which have been delivered to Mortgagee or Secured Parties concerning Grantor, or the
       Property (the financial and other information supplied or to be supplied to Mortgagee or Secured Parties in connection with this
       Mortgage is herein referred to as the "Financial Information"), are accurate, correct and sufficiently complete in all material
       respects to provide Mortgagee and Secured Parties true and accurate knowledge of their subject matter, including, without
       limitation, all material contingent liabilities Grantor's submission of any Financial Information or other report, record or
       information pertaining to the condition or operations, financial or otherwise, of Grantor, from time to time, whether or not required
       under this Mortgage, will be deemed accompanied by a representation by Grantor that the Financial Information or other report,
       record or information is complete and accurate in all material respects as to the condition or operations of Grantor (and, if
       applicable, Grantor's Subsidiaries, Affiliates, partners, shareholders, members, or other principals), including, without limitation,
       all material contingent liabilities and Grantor's business or organizational structure
               9.          Performance of Secured Obligations Grantor shall promptly pay and perform each Secured Obligation in
       accordance with Its terms
                   10.       Maintenance and Preservation of Property. Grantor shall (a) immediately discharge any Lien on the
       Property which Mortgagee has not consented to in writing, and shall also pay when due each obligation secured by or reducible
       to a Lien which now or hereafter encumbers or appears to encumber all or part of the Property, whether the Lien is or would be
       senior or subordinate to this Mortgage, (b) not alter, remove or demolish any portion of the Improvements, except as permitted or
       required by the MCA, (c) maintain (or cause to be maintained) all policies of insurance required under the MCA and pay (or
      -causepayment of)-all premiums-for that insurance on or pnor-to the date when due, (d) promptly-and-completely repair-and/or
       restore any portion of the Property which becomes damaged or destroyed, in a good and workmanlike manner in accordance
       with sound building practices, whether or not Grantor has received the proceeds of any Insurance Claim, (e) not commit or allow
       any waste of the Property, nor do or suffer to be done any act whereby the value of any part of the Property may be lessened, (f)
       not initiate or allow any change in any zoning or other land use classification which affects the Property or any part of it, except

       3E Properbes/EFP MCA 2018
       Mortgage, Assignment of Rents and Secunly Agreement
                                                                         4




                                                                                                                                                    Exhibit C
                                                                                                                                                    Exhibit C
                                                                                                                                                 Page 6
                                                                                                                                                 Page 6 of
                                                                                                                                                        of 20
                                                                                                                                                           20
Case 4:21-cv-05095-SAB                       ECF No. 1-3              filed 06/21/21               PageID.46 Page 7 of 20

        Case 4:21-cv-05066                        ECF No. 1-2           filed 04/21/21             PageID.54 Page 8 of 21




        as permitted or required by the MCA, (g) if the Land is agricultural, keep the Property in good condition and repair, operate the
        Property, whether improved pastures, orchards, grazing, timber, or crop lands, in a good and husbandman like manner in
        accordance with accepted principles of sound agncultural and forestry practices, take all reasonable precautions to control wind
        and water erosion, fertilize improved pastures, if any, where necessary to maintain a good stand of desirable grasses, protect
        orchards and timber, if any, by reasonable precautions against loss or damage by fire including the maintenance of appropriate
        fire breaks; and neither to remove nor permit the removal of any timber, buildings, oil, gas, mineral, stone, rock, clay, fertilizer,
        gravel or top soil without the pnor written consent of Mortgagee, (h) complete appropriation and all other requirements, if any,
        necessary to obtain the issuance of any license or water permit issued to Grantor, and take all other steps required or advisable
        far purposes of perfecting and maintaining in good status all other Water Rights; (i) not bnng or keep any article on the Property
        or cause or allow any condition to exist on it, if that could invalidate or would be prohibited by any insurance coverage required to
        be maintained by Grantor on the Property or any part of it under this Mortgage, and (I) perform all other acts which from the
        character or use of the Property may be reasonably necessary to maintain and preserve its value and utility
                   11.       Compliance with Applicable Law Grantor shall not commit or allow any act upon or use of the Property
        which would violate any Applicable Law, whether now existing or later to be enacted and whether foreseen or unforeseen, or any
        public or private covenant, condition, restriction or equitable servitude affecting the Property,
                  12          Taxes and Assessments Grantor shall pay (a) prior to delinquency, all taxes, levies, charges and
       assessments imposed by Applicable Law or any public or quasi-public authority or utility company which are (or if not paid, may
       become) a Lien on all or part of the Property or any interest in it, or Mich may cause any decrease in the value of the Property
       or any part of it (individually and collectively "Impositions"), (b) any and all intangible taxes and documentary stamp taxes
       determined at any time to be due on or as a result of the Secured Obligations, this Mortgage or any other Transaction
       Documents, together with any and all interest and penalties thereon, and (c) taxes, levies, charges and assessments on
       Mortgagee's or Secured Parties' interest therein or upon this Mortgage or the Secured Obligations (collectively, "Mortgage
       Taxes"), except that if the amount of Mortgage Taxes exceeds the Maximum Rate, Grantor will not be required to pay any such
       excess If after the date of this Mortgage, the State of Washington passes any law deducting from the value of Land for the
       purpose of taxation any Lien thereon, or changing in any way the laws for the taxation of Mortgages or debts secured by
       Mortgage for state or local purposes, or the manner of the collection of any such taxes, so as to affect this Mortgage, then within
       180 days after notice by Mortgagee to Grantor, Grantor shall pay all Secured Obligations Notwithstanding the foregoing
       provisions of this section, Grantor may, at its expense, contest the validity or application of any Imposition by appropriate legal
       proceedings promptly initiated and conducted in good faith and with due diligence, provided that Mortgagee is satisfied that
       neither the Property nor any part thereof or interest therein will be at risk of being sold, forfeited, or lost as a result of such
       contest, and Grantor has posted a bond equal to 115% of the contested amount or furnished such other security required from
       time to time by Mortgagee for purposes of payment of the contested amount.
                  13.         Damages and Insurance and Condemnation Proceeds Mortgagee may, at its option, (a) in its own name
       appear in or prosecute any action or proceeding to enforce any cause of action based on warranty, or for damage, injury or loss
       to all or part of the Property, and it may make any compromise or settlement of the action or proceeding, (b) participate in any
       action or proceeding relating to any Condemnation Award, and (c) join Grantor in adjusting any Insurance Claim All insurance
       proceeds, Condemnation Awards, and proceeds of any other claim based on warranty, or for damage, injury or loss to the
       Property which Grantor may receive or be entitled to must be paid to Mortgagee In each instance, Mortgagee may apply those
       proceeds first toward reimbursement of all of Mortgagee's costs and expenses of recovering the proceeds or Condemnation
       Award, including Legal Fees The balance shall, at Mortgagee's option, be applied to pay or Prepay (with any applicable
       Prepayment Consideration, if any) some or all of the Secured Obligations in such order and proportions as It may choose
       GRANTOR HEREBY SPECIFICALLY, UNCONDITIONALLY AND IRREVOCABLY WAIVES ALL RIGHTS OF A PROPERTY
       OWNER WHICH PROVIDE FOR ALLOCATION OF CONDEMNATION PROCEEDS BETWEEN A PROPERTY OWNER AND A
       LIENHOLDER, AND ANY OTHER LAW OR SUCCESSOR STATUTE OF SIMILAR IMPORT
               --14a -     SiteVisits—Observation and-Testing.—Mortgagee and its agents and-representatives may enter-and
       the Property at any reasonable time for the purposes of observing it, performing Appraisals, taking and removing soil or
       groundwater samples, and conducting tests on any part of it, as provided in the MCA, and otherwise to determine Grantor's
       compliance with this Mortgage



        3E Ptoperties/EFP MCA 2018
        Mortgage, Assignmentof Rents end Secuty Agreement
                                                                         5




                                                                                                                                                Exhibit C
                                                                                                                                                Exhibit C
                                                                                                                                             Page 7
                                                                                                                                             Page 7 of
                                                                                                                                                    of 20
                                                                                                                                                       20
Case 4:21-cv-05095-SAB                          ECF No. 1-3           filed 06/21/21                PageID.47 Page 8 of 20

       Case 4:21-cv-05066                         ECF No. 1-2         filed 04/21/21             PageID.55 Page 9 of 21




                 15.      Defense and Notice of Claims and Actions. At Grantor's sole expense, Grantor shall protect, preserve
      and defend the Property and title to and right of possession of the Property, and the security of this Mortgage and the rights and
      powers of Mortgagee created under it, against all adverse claims, Grantor must give Mortgagee prompt notice in writing if any
      claim is asserted which does or could affect any of these matters, or if any action or proceeding is commenced which alleges or
      relates to any such claim
                16.        Prohibited Transfers. Grantor agrees that a material factor in Secured Parties' decision to enter into the
      Secured Obligation Documents is the expertise, financial status and other characteristics of Grantor or Borrower. Grantor or
      Borrower shall not make or permit any Prohibited Transfer Upon any Prohibited Transfer Mortgagee may declare all Secured
      Obligations to be due and payable immediately "Prohibited Transfer" means (a) any sale, contract to sell, conveyance,
      encumbrance, pledge, mortgage, lease of the Property to or for the benefit of a Person not the original Grantor under this
      instrument, and not expressly permitted under this instrument or the other Secured Obligation Documents, or other transfer of all
      or any matenal part of the Property or any interest in it, including any transfer of Mineral Rights, Water Rights, or Water Stock,
      whether voluntary, involuntary, by operation of law or otherwise; (b) if Grantor or Borrower is a corporation, any transfer or
      transfers of shares of the voting power or the direct or indirect beneficial ownership of Grantor, (c) if Grantor or Borrower is a
      partnership, withdrawal or removal of any general partner, dissolution of the partnership under Applicable Law, or any transfer or
      transfers of the partnership interests, (d) if Grantor or Borrower is a limited liability company, withdrawal or removal of any
      managing member, termination of the limited liability company or any transfer or transfers of the voting power or the ownership of
      the economic interest in the Grantor or Borrower, or (e) if Grantor or Borrower is a trust, withdrawal or removal of any trustee or
      revocation of the trust
                17.       Compensation and Reimbursement of Costs and Expenses. Grantor shall pay (a) fees in the maximum
      amounts legally permitted, or reasonable fees as may be charged by Mortgagee when the law provides no maximum limit, for
      any services that Mortgagee may render in connection with this Mortgage, including Mortgagee's providing a statement, (b) all of
      Mortgagee's costs and expenses which may be incurred in rendenng any such services, and (c) all costs, expenses and other
      advances which may be incurred or made by Mortgagee in any efforts to enforce any terms of this Mortgage or protect the
      Property, including any nghts or remedies afforded to Mortgagee under Section 20, including but not limited to Appraisals,
      inspections, insurance premiums, and prevention of waste, whether any lawsuit is filed or not, including any bankruptcy or other
      voluntary or involuntary proceeding, in or out of court, for the Adjustment of debtor-creditor relationships, or in defending any
      action or proceeding arising under or relating to this Mortgage, including attorneys' fees and other legal costs, costs of any
      Foreclosure Sale (defined herein) and any cost of evidence of title If Mortgagee chooses to dispose of Property through more
      than one Foreclosure Sale, Grantor must pay all costs, expenses or other advances that may be incurred or made by Mortgagee
      in each of those Foreclosure Sales GRANTOR SHALL INDEMNIFY MORTGAGEE AND SECURED PARTIES AGAINST AND
      SHALL HOLD THEM HARMLESS FROM ALL LOSSES, DAMAGES, LIABILITIES, CLAIMS, CAUSES OF ACTION,
      JUDGMENTS, COURT COSTS, ATTORNEYS' FEES AND OTHER LEGAL EXPENSES, COST OF EVIDENCE OF TITLE,
      COST OF EVIDENCE OF VALUE, AND OTHER COSTS AND EXPENSES WHICH EITHER MAY SUFFER OR INCUR' (A) IN
      PERFORMING ANY ACT REQUIRED OR PERMITTED BY THIS MORTGAGE OR ANY OF THE OTHER SECURED
      OBLIGATION DOCUMENTS OR BY LAW, (B) BECAUSE OF ANY FAILURE OF GRANTOR TO PAY OR PERFORM ANY OF
      THE SECURED OBLIGATIONS, OR (C) BECAUSE OF ANY ALLEGED OBLIGATION OF OR UNDERTAKING BY
      MORTGAGEE OR SECURED PARTIES TO PERFORM OR DISCHARGE ANY OF THE REPRESENTATIONS, WARRANTIES,
      CONDITIONS, COVENANTS OR OTHER OBLIGATIONS IN ANY DOCUMENT RELATING TO THE PROPERTY (OTHER
      THAN SUCH WARRANTIES, CONDITIONS, COVENANTS OR OTHER OBLIGATIONS IN THE SECURED OBLIGATION
      DOCUMENTS) THIS AGREEMENT BY GRANTOR TO INDEMNIFY MORTGAGEE AND SECURED PARTIES SURVIVES
      THE RELEASE AND CANCELLATION OF ANY OR ALL OF THE SECURED OBLIGATIONS AND THE FULL OR PARTIAL
      RELEASE AND/OR RECONVEYANCE OF THIS MORTGAGE
                18.        Payments Due under this Mortgage Grantor must pay all obligations to pay money arising under this
      Mortgage immediately upon demand by Mortgagee or Secured Parties Each such obligation shall bear interest from the date
      the obligation arises at the Default Rate                                                                -
                19.       Events of Default The following each shall be an event of default under this Mortgage (an "Event of
      Default") (a) an Event of Default under the MCA, including a default termination event or other similar event under any Hedging
      Agreement which is not cured within any grace or cure penal specified therein, if any, (b) a Prohibited Transfer, (c) the Financial
      Information or any representation in this Mortgage is materially incorrect or materially misleading, (d) the filing of any notice

      3E Properties/ERR MCA 2018
      Mortgage, Assignment of Rents and Secunty Agreement
                                                                       6




                                                                                                                                               Exhibit C
                                                                                                                                               Exhibit C
                                                                                                                                            Page 8
                                                                                                                                            Page 8 of
                                                                                                                                                   of 20
                                                                                                                                                      20
Case 4:21-cv-05095-SAB                       ECF No. 1-3             filed 06/21/21                PageID.48 Page 9 of 20

       Case 4:21-cv-05066                       ECF No. 1-2          filed 04/21/21             PageID.56 Page 10 of 21




        limiting the maximum amount secured by this Mortgage to a sum less than the Maximum Amount Secured as specified herein, or
        if no such amount is specified, to any amount; (e) for more than ten days after notice from Mortgagee, Grantor is in default under
        any term, covenant or condition of this Mortgage not previously descnbed to this Section 19, which can be cured by the payment
        of a sum of money, or (f) for 30 days after notice from Mortgagee or Secured Parties, Grantor is in default under any term,
        covenant or condition of this Mortgage not previously described in this Section 19, provided that if (I) it is reasonably certain that
        the default cannot be cured by Grantor within that 30 day period and (s) Grantor has commenced cunng that default within that
        30 day period and thereafter diligently and expeditiously proceeds to cure that default, then that 30 day period shall be extended
        for so long as reasonably required by Grantor in the exercise of due diligence to cure that default, up to a maximum of 90 days
        after the notice to Grantor of the Event of Default
                   20,        Remedies At any time after an Event of Default, Secured Parties or Mortgagee may (a) declare any or all of
        the Secured Obligations to be due and payable immediately, (b) cure any breach or default of Grantor; (c) may, to the extent
        permitted by Applicable Law, make an ex parte application to any court of competent junsclichon, and obtain appointment of, a
        receiver, trustee, liquidator or conservator of the Property, without notice, without giving bond, and without regard for the
        adequacy of the security for the Secured Obligations and without regard for the solvency of Borrower, any Guarantor, or of any
        Person liable for the payment of the Secured Obligations, (d) in person, by agent or by court-appointed receiver, enter, take
        possession of, manage and operate all or any part of the Property, (e) exercise any or all of the remedies granted to a secured
        party under the UCC, (f) bring an action in any court of competent Jurisdiction to foreclose this Mortgage or to obtain specific
        enforcement of any of the Covenants or agreements of this Mortgage; (g) under the power of sale granted under this Mortgage
        (the "Power of Sale"), at its option cause some or all of the Property, including the Personalty, to be sold or otherwise disposed
        of in any combination and in any manner permitted by Applicable Law; and (h) do any and all other things in connection with
        those actions that Mortgagee may consider necessary and appropriate to protect the security of this Mortgage GRANTOR
        HEREBY IRREVOCABLY CONSTITUTES AND APPOINTS MORTGAGEE AS GRANTOR'S ATTORNEY-IN-FACT TO
        PERFORM SUCH ACTS AND EXECUTE SUCH DOCUMENTS AS MORTGAGEE CONSIDERS APPROPRIATE IN
        CONNECTION WITH TAKING THESE MEASURES, INCLUDING ENDORSEMENT OF GRANTOR'S NAME ON ANY
        INSTRUMENTS GRANTOR HEREBY WAIVES NOTICE OF THE APPLICATION FOR, AND CONSENTS TO THE
        APPOINTMENT OF A RECEIVER, TRUSTEE, LIQUIDATOR OR CONSERVATOR OF THE PROPERTY IN ACCORDANCE
        WITH THE PROVISIONS OF THIS SECTION, AND AGREES TO NOT OPPOSE SUCH APPOINTMENT Notwithstanding the
        foregoing, in no event will Mortgagee or Secured Parties have any obligation to take any of the actions set forth in this Section
        20 Mortgagee shall not be considered to have accepted any property other than cash or immediately available funds in
        satisfaction of any obligation of Grantor to Mortgagee, unless Mortgagee has given express written notice of its election of that
        remedy The proceeds of any receivership shall be applied by the receiver toward the payment of the Secured Obligations or
        toward the payment of such part of any Judgment thereupon which remains unsatisfied after the sale of the Property The
        receiver may make repairs and keep the Property in good condition and repair pending a sale, and pay all taxes and
        assessments accrued or accruing or redeem from sales therefore, pay all premiums of insurance required under this Mortgage,
        and pay all other charges as herein provided
                   21.       Sales of Property. Mortgagee may elect to treat as Personalty any Property which is intangible or which
        can be severed from the Land or Improvements without causing structural damage Mortgagee may dispose of any Personalty
        separately from the sale of real property, in any manner permitted by the UCC or any other Applicable Law Any proceeds of any
        such disposition shall not cure any Event of Default or reinstate any Secured Obligation. Mortgagee may choose to dispose of
        some or all of the Property which consists solely of real property in any manner then permitted by Applicable Law. To the extent
        permitted by Applicable Law, Mortgagee may also or alternatively choose to dispose of some or all of the Property, in any
        combination consisting of both real and personal property, together m one sale to be held in accordance with the law and
        procedures applicable to real property, as permitted by the UCC Grantor agrees that such a sale of Personalty together with
        real property constitutes a commercially reasonable sale of the personal property For purposes of the Power of Sale, either a
        sale of real property alone under the Power of Sale, or, to the extent permitted by Applicable Law, a sale of both real and
        personal property under the Power of Sale, together-in accordance with the UCC, will sometimes be referred_to as a "Non-
        Judicial Foreclosure Sale Before any Non-Judicial Foreclosure Sale, Mortgagee must give such notice of default and election
        to sell as may then be required by law When all time penods then legally mandated have expired, and after such notice of sale
        as may then be legally required has been given, Mortgagee, as required by Applicable Law, must sell the Property being sold at
        a public auction to be held at the time and place specified in the notice of sale Mortgagee has no obligation to make demand on
        Grantor before any Non-Judicial Foreclosure Sale From time to time in accordance with then Applicable Law, Mortgagee may

        3E Properhes/EFP MCA 2018
        Mortgage, Assignment ofRents and Sscunly Agreement
                                                                          7




                                                                                                                                              Exhibit C
                                                                                                                                              Exhibit C
                                                                                                                                           Page 9 of 20
                                                                                                                                           Page 9 of 20
Case 4:21-cv-05095-SAB                       ECF No. 1-3                filed 06/21/21                PageID.49 Page 10 of 20

       Case 4:21-cv-05066                       ECF No. 1-2             filed 04/21/21              PageID.57 Page 11 of 21




       postpone any Non-Judicial Foreclosure Sale by public announcement at the time and place noticed for that sale Trustee or
       Mortgagee, as required by Applicable Law, shall execute and deliver to any purchaser(s) a deed(s) or bill(s) of sale conveying the
       Property being sold without any covenant or warranty whatsoever, express or implied The recitals in any such deed(s) or bill(s)
       of sale of any matters or facts, including any facts bearing upon the regularity or validity of any Non-Judicial Foreclosure Sale,
       will be conclusive proof of their truthfulness Any such deed(s) or bill(s) of sale shall be conclusive against all Persons as to the
       facts recited in it If the Land is located in more than one county, then to the extent permitted by Applicable Law, a judicial or
       non-judicial foreclosure sale of the Property may be maintained in any one or more of those counties If the Property consists of
       more than one lot, parcel or item of property, Mortgagee may (i) designate the order in which the lots, parcels and/or items shall
       be sold or disposed of or offered for sale or disposition; and (ii) elect to dispose of the lots, parcels and/or items through a single
       consolidated sale or disposition to be held or made under the Power of Sale, or in connection with judicial proceedings, or by
       virtue of a Judgment and decree of foreclosure and sale, or through two or more such sales or dispositions, or in any other
       manner (including a Non-Judicial Foreclosure Sale) Mortgagee may deem to be in its best interests (any such sale or disposition,
       a "Foreclosure Sale," any two or more, "Foreclosure Sales") If it chooses to have more than one Foreclosure Sale, Mortgagee at
       its option may cause the Foreclosure Sales to be held simultaneously or successively, on the same day, or on such different days
       and at such different times and in such order as it may deem to be in its best interests. No Foreclosure Sale will terminate or affect
       the Lien of this Mortgage on any part of the Property which has not been sold, until all of the Secured Obligations have been paid in
       full At any Foreclosure Sale, any person, including Grantor, Mortgagee or Secured Parties, may bid for and acquire the Property
       or any part of it to the extent permitted by then Applicable Law Instead of paying cash for that property, Mortgagee or Secured
       Parties may settle for the purchase price by crediting the sales price of the Property against the Secured Obligations, unless
       Applicable Law mandates a specific order of application, in which event payments and collections will be applied as mandated by
       Applicable Law Any such credit, and all other proceeds of any Foreclosure Sale shall be applied to the Secured Obligations in
       any order Mortgagee may choose
                 22.       Additional Rights In addition to the rights and powers given to Mortgagee under this Mortgage, Mortgagee
       shall have an such other rights both in law and equity for collection of the indebtedness secured hereby as it would have but for
       this Mortgage,
                  23.        Guarantor and/or Non-Obligor Provisions. (a) Guarantor and/or Non-Obligor authorize Mortgagee and
       Secured Parties to perform any of the following acts at any time, all without notice to Guarantor and/or Non-Obligor and without
       affecting the rights of Mortgagee or Secured Parties or the obligations of Guarantor and/or Non-Obligor under this Mortgage (i)
       alter any terms of the MCA or any part of it, including renewing, compromising, extending or accelerating, or otherwise changing
       the time for payment of, or increasing or decreasing the rate of interest on, the MCA or any part of it, (ii) take and hold secunty
       for the MCA, accept additional or substituted security for the MCA, and subordinate, exchange, enforce, waive, release,
       compromise, fail to perfect, sell or otherwise dispose of any such security, (iii) apply any security now or later held for the MCA in
       any order that Mortgagee and Secured Parties may choose, and may direct the order and manner of any sale of all or any part of
       it and bid at any such sale, (iv) release Obligor/Borrower of its liability for the MCA or any part of it, (v) substitute, add or release
       any one or more guarantors or endorsers of the MCA, and (vi) extend other credit to Obligor/Borrower, and may take and hold
       security for the credit so extended, whether or not such security also secures the MCA
                 (b)        Guarantor and/or Non-Obligor waive (i) any right to require Mortgagee or Secured Parties to proceed
       against Obligor/Borrower, proceed against or exhaust any secunty held from Obligor/Borrower, or pursue any other remedy in
       Mortgagee's and Secured Parties power to pursue, (ii) any defense based on any legal disability of Obligor/Borrower, any
       discharge or limitation of the liability of Obligor/Borrower to Mortgagee or Secured Parties, whether consensual or arising by
       operation of law or any bankruptcy, reorganization, receivership, insolvency, or debtor-relief proceeding, or from any other cause,
       or any claim that the obligations of Guarantor and/or Non-Obligor exceed or are more burdensome than those of
       Obligor/Borrower, (iii) all presentments, demands for performance, notices of nonperformance, protests, notices of protest,
       notices of dishonor, notices of acceptance of this Mortgage and of the existence, creation, or incurring of new or additional
       indebtedness of Obligor/Borrower, and demands and notices of every kind, (iv) any defense based on or arising out of any
       defense that Obligor/Borrower may have to the payment or pefforrnance of the MCA-or anypart of it and (v)-until the
       Obligations have been paid and performed in full, all rights of subrogation, reimbursement, indemnification and contribution
       (contractual, statutory or otherwise), including any claim or right of subrogation under the Bankruptcy Code (Title 11 of the U S
       Code) or any successor statute, all rights to enforce any remedy that Mortgagee or Secured Parties may have against


       3E Properties/EFP MCA 2018
       Mortgage, Assignment of Rents and SewnlyAgreement
                                                                          8




                                                                                                                                                       Exhibit C
                                                                                                                                                       Exhibit C
                                                                                                                                                   Page 10
                                                                                                                                                   Page 10 of
                                                                                                                                                           of 20
                                                                                                                                                              20
Case 4:21-cv-05095-SAB                       ECF No. 1-3             filed 06/21/21               PageID.50 Page 11 of 20

       Case 4:21-cv-05066                       ECF No. 1-2         filed 04/21/21             PageID.58 Page 12 of 21




        Obligor/Borrower, and all rights to participate in any secunty now or later to be held by Mortgagee or Secured Parties for the
        MCA
                    (c)      Guarantor and/or Non-Obligor waive all rights and defenses that Guarantor and/or Non-Obligor may have
        because the MCA may be secured by real property other than the Property hereby encumbered This means, among other
        things (i) Mortgagee and Secured Parties may collect from Guarantor and/or Non-Obligor (including enforcing this Mortgage
        against Guarantor and/or Non-Obligor) without first foreclosing on any real or personal property collateral securing the MCA, and
        (ii) if Mortgagee forecloses on any real property collateral securing the MCA (A) the amount of the MCA may be reduced only
        by the pnce for which that Collateral is sold at the foreclosure sale, even if the Collateral is worth more than the sale price, and
        (B) Mortgagee and Secured Parties may collect from Guarantor and/or Non-Obligor (including enforcing this Mortgage against
        Guarantor and/or Non-Obligor) even if Mortgagee or Secured Parties, by foreclosing on the real property collateral, has
        destroyed any right Guarantor andlor Non-Obligor may have to collect from Borrower This is an unconditional and irrevocable
        waiver of any rights and defenses Guarantor and/or Non-Obligor may have because the MCA may be secured by real property
        other than the Property
                 (d)        Guarantor and/or Non-Obligor waive any right or defense it may have at law or equity, to a fair market value
        heanng or action to determine a deficiency Judgment after a foreclosure of any real property other than the Property hereby
        encumbered
                  (e)       Guarantor and/or Non-Obligor are solely responsible for keeping informed of the financial condition and
        business operations of Borrower and all other circumstances affecting the ability of Borrower to pay and perform Borrower's
        obligations to Mortgagee and Secured Parties, and agrees that Mortgagee and Secured Parties will have no duty to disclose to
        Guarantor and/or Non-Obligor any information which Mortgagee or Secured Parties may receive about the financial condition,
        business operations, or any other circumstances beanng on the ability of Borrower to perform
                 (f)        No provision or waiver in this Mortgage shall be construed as limiting the generality of any other provision or
        waiver contained in this Mortgage or the Guaranty
                  24,        Notices. All notices, approvals, consents, and other communications, under this Mortgage ("Notices") must
        be given in accordance with and will be subject to the terms and provisions of the MCA Notices must be mailed or delivered, if
        to Grantor, to the address adjacent Grantor's signature below, if to Mortgagee or Lender, to 14767 N Outer 40 Rd , Suite 400,
        Chesterfield, MO 63017, Attention Loan Closing Department, if to Secured Parties other than Lender, clo Rabobank, 245 Park
        Avenue, New York, NY 10167, Attention Customer Service Representative, and in the case of any other Person, to the address
        designated by that Person in a notice to Grantor, Mortgagee, and Lender
                    25.     Mortgagee. Without affecting the personal liability of any Person, including Grantor and Obligor/Borrower,
        for the payment of the Secured Obligations or the Lien of this Mortgage on the remainder of the Property for the unpaid amount
        of the Secured Obligations, Mortgagee and Secured Parties may from time to time and without notice (I) release any Person
        liable for payment of any Secured Obligation, (ii) extend the time for payment, or otherwise alter the terms of payment, of any
        Secured Obligation, (iii) accept additional real or personal property of any kind as security for any Secured Obligation, whether
        evidenced by deeds of trust, Mortgages, Security Agreements or any other instruments of security, or (iv) alter, substitute or
        release any property secunng the Secured Obligations
                  26.        Exculpation of Mortgagee. None of Mortgagee or Secured Parties will be directly or indirectly liable to
        Grantor or any other Person as a consequence of any of the following (a) the exercise of or failure to exercise any rights,
        remedies or powers granted to it in this Mortgage, (b) any failure or refusal to perform or discharge any obligation or liability of
        Grantor under any agreement related to the Property or under this Mortgage, or (c) any loss sustained by Grantor or any third
        party resulting from any failure to lease the Property or from any other act or omission in managing the Property after an Event of
        Default, unless the loss is caused by the willful misconduct and bad faith of Mortgagee or Secured Parties, respectively
        GRANTOR HEREBY EXPRESSLY WAIVES AND RELEASES ALL LIABILITY OF THE TYPES DESCRIBED ABOVE, AND
        AGREES THAT NO SUCH LIABILITY BE ASSERTEDAGAINST OR IMPOSED UPON-MORTGAGEE OR ANY SECURED
        PARTY
                    27.      Waiver of Dower, Homestead, and Distributive Share. Grantor relinquishes all right of dower and waives
        all right of homestead and distnbutive share in and to the Property Grantor waives any right of exemption as to the Property


        3E Propertes/EFP MCA 2018
        Mortgage, Assignment ofRents and Secant), Agreement
                                                                         9




                                                                                                                                                Exhibit C
                                                                                                                                                Exhibit C
                                                                                                                                            Page 11
                                                                                                                                            Page 11 of
                                                                                                                                                    of 20
                                                                                                                                                       20
Case 4:21-cv-05095-SAB                         ECF No. 1-3             filed 06/21/21               PageID.51 Page 12 of 20

       Case 4:21-cv-05066                         ECF No. 1-2          filed 04/21/21             PageID.59 Page 13 of 21




                 28.       Waiver of Certain Other Laws. To the full extent Grantor may do so, Grantor agrees that Grantor will not at
       any time insist upon, plead, claim or take the benefit or advantage of any law now or hereafter in force providing for
       appraisement, valuation, stay, extension or redemption, and Grantor, for Grantor, and its representatives, successors and
       assigns, and for any and all Persons ever claiming any interest in the Property, to the extent permitted by law, hereby waives and
       releases all nghts of redemption, valuation, appraisement, stay of execution, or notice of election to mature or declare due the
       whole of the Secured Obligations in the event of foreclosure of the Lien created by this Mortgage
                 29.       Release. When all Secured Obligations have been paid in full, Lender has no obligation to make additional
       Loans and the Hedging Agreements have been terminated, Mortgagee shall execute and deliver to Grantor, a release of the
       Property from the Lien of this Mortgage
                  30.        Additional Provisions The Secured Obligation Documents state all of the terms and conditions of the
       parties' agreement regarding the matters mentioned in or incidental to this Mortgage The Secured Obligation Documents also
       grant further rights to Mortgagee and Secured Parties and contain further agreements and affirmative and negative covenants by
       Grantor which apply to this Mortgage and to the Property
                31.      Collateral Agency Agreement This Mortgage is subject to the terms of the collateral agency agreement
       between the Secured Parties (the 'Collateral Agency Agreement')
                32.        Entire Agreement This Mortgage and the other Secured Obligation Documents collectively (i) represent
       the sum of the understandings and agreements between Mortgagee, Secured Parties and Grantor concerning this credit; (ii)
       replace any prior oral or written agreements between Mortgagee, Secured Parties and Grantor concerning this credit, and (iii) are
       intended by Mortgagee, Secured. Parties and Grantor as the final, complete and exclusive statement of the terms agreed to by
       them In the event of any conflict between this Mortgage and any other agreements required by this Mortgage, this Mortgage will
       prevail

                  33.      Other Acts. Grantor shall cooperate with Mortgagee for the purposes of, and perform all acts which may be
       necessary or advisable to perfect any Lien provided for in this Mortgage or to carry out the intent of this agreement Promptly
       (but in no event more than ten days) after request by Mortgagee, Grantor will execute, acknowledge and deliver any document
       which Mortgagee deems necessary or advisable for these purposes, and will, on demand, pay any expenses incurred by
       Mortgagee in the preparation, execution and filing of any such documents
                  34.        No Waiver or Cure Each waiver by Mortgagee or Secured Parties must be in writing, and no waiver is to
       be construed as a continuing waiver No waiver is to be implied from any delay or failure by Mortgagee or Secured Parties to
       take action on account of any default of Grantor Consent by Mortgagee or Secured Parties to any act or omission by Grantor
       must not be construed as a consent to any other or subsequent act or omission or to waive the requirement for Mortgagee's or
       Secured Parties' consent to be obtained in any future or other instance The exercise by Mortgagee or Secured Parties of any
       right or remedy under this Mortgage or the other Secured Obligation Documents or under Applicable Law, shall not cure or
       waive a breach, Event of Default or notice of default under this Mortgage or invalidate any act performed pursuant to any such
       default or notice, or nullify the effect of any notice of default or sale (unless all Secured Obligations then due have been paid and
       performed and all other defaults under the Secured Obligation Documents, including any Hedging Agreements, have been
       cured), or impair the security of this Mortgage, or prejudice Mortgagee, Secured Parties or any receiver appointed in accordance
       with this Mortgage, in the exercise of any right or remedy afforded any of them under this Mortgage, or be construed as an
       affirmation by Mortgagee or Secured Parties of any tenancy, lease or option, or a subordination of the Lien of this Mortgage

                  35.       Waivers Grantor waives all rights, legal and equitable, it may now or hereafter have to require marshaling
       of assets or to require upon foreclosure sales of assets in a particular order Grantor waives presentment, demand, protest,
       notice of protest and notice of dishonor and waives all exemptions as to the Secured Obligations Each successor and assign of
       Grantor, including any holder of a Lien subordinate to this Mortgage, by acceptance of its interest or Lien agrees that it shall be
       bound bythe abovewaiver, as if it had given the waiver-itself

                 36.       Joint and Several Obligations. If Grantor consists of more than one Person, each Grantor (a)
       acknowledges and undertakes, together with the other Grantors, joint and several liability for the indebtedness, liabilities and
       obligations of Grantor under this Mortgage, (b) acknowledges that this Mortgage is the independent and several obligation of

       3E PropertiesIEFP MCA 2018
       Mortgage, Assignment of Rents and Secenty Agreement
                                                                        10




                                                                                                                                                   Exhibit C
                                                                                                                                                   Exhibit C
                                                                                                                                               Page 12
                                                                                                                                               Page 12 of
                                                                                                                                                       of 20
                                                                                                                                                          20
Case 4:21-cv-05095-SAB                       ECF No. 1-3              filed 06/21/21               PageID.52 Page 13 of 20

        Case 4:21-cv-05066                        ECF No. 1-2           filed 04/21/21             PageID.60 Page 14 of 21




        each Grantor and may be enforced against each Grantor separately, whether or not enforcement of any right or remedy
        hereunder has been sought against any other Grantor; and (c) agrees that its liability hereunder and under any other Secured
        Obligation Document shall be absolute, unconditional, continuing and irrevocable GRANTOR EXPRESSLY WAIVES ANY
        REQUIREMENT THAT MORTGAGEE OR SECURED PARTIES EXHAUST ANY RIGHT, POWER OR REMEDY AND
        PROCEED AGAINST THE OTHER GRANTORS UNDER THIS MORTGAGE, OR ANY OTHER SECURED OBLIGATION
        DOCUMENTS, OR AGAINST ANY OTHER PERSON UNDER ANY GUARANTY OF, OR SECURITY FOR, ANY OF THE
        SECURED OBLIGATIONS

                   37.       Binding Effect; Successors and Assigns. The Secured Obligation Documents shall inure to the benefit of
        and shall be binding upon the parties and their respective successors and assigns, provided that Grantor shall not assign its
        rights or obligations hereunder without Secured Parties' consent However, this Paragraph does not waive the provisions
        of Section 16, and Grantor shall not assign its rights or obligations hereunder without Mortgagee's and Secured Parties' consent
        Mortgagee and Secured Parties may transfer all or any portion of its rights under the Secured Obligation Documents to any other
        Person Mortgagee and Secured Parties may disclose to any actual or proposed transferee any information that Grantor has
        delivered to Mortgagee and Secured Parties in connection with the negotiation of this Mortgage or pursuant to the Secured
        Obligation Documents; and Grantor shall cooperate fully with Mortgagee and Secured Parties in providing that information to any
        actual or proposed transferee
                  38.        Governing Law. This Mortgage shall be governed exclusively by the Applicable Laws of the State of
        Washington (the "Governing Law State") without regard or reference to its conflict of laws principles Grantor understands that
        the laws of the Governing Law State may differ from the laws of the stale where Grantor resides or otherwise is located or where
        the Property is located However, Grantor understands, agrees and acknowledges that (a) this Mortgage and the Secured
        Obligation Documents have significant and substantial contacts with the Governing Law State, (b) it is convenient to Grantor and
        Lender to select the law of the Governing Law State to govern this Mortgage and the transactions evidenced hereby, (c) the
        transactions evidenced by the MCA and this Mortgage bear a reasonable connection to the laws of the Governing Law State, (d)
        the choice of the internal laws of the Governing Law State was made for good and valid reasons, and (e) the choice of the
        Governing Law State constitutes good and valueble consideration for Secured Parties to enter into the Secured Obligation
        Documents and Secured Parties have entered into the Secured Obligation Documents in reliance on this choice
                39.    JURISDICTION AND VENUE. GRANTOR IRREVOCABLY AGREES THAT, AT THE OPTION OF
        MORTGAGEE, ALL ACTIONS, PROCEEDINGS OR COUNTERCLAIMS ARISING OUT OF OR RELATING TO THIS
        MORTGAGE OR ANY OTHER TRANSACTION DOCUMENT WILL BE LITIGATED IN THE IOWA DISTRICT COURT FOR
        BLACK HAWK COUNTY, IOWA, OR THE UNITED STATES DISTRICT COURT FOR THE NORTHERN DISTRICT OF IOWA
        GRANTOR IRREVOCABLY CONSENTS TO SERVICE, JURISDICTION, AND VENUE OF THOSE COURTS FOR ALL SUCH
        ACTIONS, PROCEEDINGS AND COUNTERCLAIMS AND WAIVES ANY OTHER VENUE TO WHICH IT MIGHT BE ENTITLED
        BY VIRTUE OF DOMICILE, HABITUAL RESIDENCE OR OTHERWISE
                    40.      Miscellaneous. This Mortgage may be executed in counterparts, each of which will be an original and all of
        which together are deemed one and the same instrument If Grantor is comprised of multiple Persons, any Person comprising
        Grantor is hereby authonzed to bind all parties comprising Grantor Mortgagee or Secured Parties may, at any time and without
        notice, waive any prior requirement that requests, authorizations, or other actions be taken only by a Designated Person Time
        is of the essence of this Mortgage Each Party has participated in negotiating and drafting this Mortgage, so if an ambiguity or a
        question of intent or interpretation arises, this Mortgage is to be construed as if the parties had drafted it jointly, as opposed to
        being construed against a Party because it was responsible for drafting one or more provisions of this Mortgage Mortgagee is
        authorized to execute any other documents or take any other actions necessary to effectuate this Mortgage and the
        consummation of the transactions contemplated herein This Mortgage may not be amended, changed, modified, altered or
        terminated without the prior written consent of Mortgagee and Secured Parties Any provision of any Secured Obligation
        Document which is prohibited or unenforceable in any jurisdiction shall, as to that jurisdiction, be ineffective to the extent of such
        prohibition or unenforceability withoutinvalidating the renTaining-provfaignrof that Secured Obligation Document oraffecting the
        validity or enforceability of that provision in any other jurisdiction, except that if such provision relates to the payment of any
        monetary sum, then Mortgagee or Secured Parties may, at its option, declare all Secured Obligations immediately due and
        payable No merger shall occur as a result of Mortgagee's or Secured Parties' acquiring any other estate in or any other Lien on


        3E Propernes/EFP MCA 2018
        Mortgage, Assignmentot Rents and Security Agreement
                                                                         11




                                                                                                                                                Exhibit C
                                                                                                                                                Exhibit C
                                                                                                                                            Page 13
                                                                                                                                            Page 13 of
                                                                                                                                                    of 20
                                                                                                                                                       20
Case 4:21-cv-05095-SAB                         ECF No. 1-3          filed 06/21/21               PageID.53 Page 14 of 20

       Case 4:21-cv-05066                        ECF No. 1-2        filed 04/21/21            PageID.61 Page 15 of 21




       the Property. Allrights and remedies Under this Mortgage and the Secured Obligation Documents are cumulative, and the
       exercise of any one or more of them does not constitute an election of remedies.
               41.    INDEMNIFICATION. GRANTOR SHALL DEFEND, INDEMNIFY AND HOLD MORTGAGEE AND
       SECURED PARTIES AND THEIR OFFICERS, DIRECTORS, EMPLOYEES, PARTNERS, AGENTS AND ATTORNEYS (THE
       "INDEMNIFIED PERSONS') HARMLESS AGAINST ANYAND ALL LOSSES OF ANY KIND. OR NATURE WHATSOEVER
       THAT MAY BE IMPOSED' ON, INCURRED BY, OR ASSERTED AGAINST THE INDEMNIFIED PERSONS ARISING OUT OF
       CLAIMS ASSERTED AGAINST THE INDEMNIFIED PERSONSAS A RESULT OF MORTGAGEE OR. SECURED PARTIES
       BEING PARTY TO THIS MORTGAGE OR,THE TRANSACTIONS CONSUMMATED PURSUANT TO THIS MORTGAGE; except
       thatGrantor shall have no obligation to an Indemnified Person under this section with resped( to Losses resulting from the gross
       negligence or willfulmisconduct of that IndemnifiedPerson as determined by a court of competentjurisdiction. If and to the
       extent that an Indemnity is unenforceable forany reason, Grantor shall be obligeted to mal0 the maximum contribution 10 the
       payment and satisfaction thereof which is permissible under Applicable taw. THE.PROVISIONS.OF ALL INDEMNITIES SHALL
       SURVIVE THE TERMINATION OF THIS MORTGAGE.
               42.       WAIVER OF TRIAL BY JURY. GRANTOR AND; BY ACCEPTANCE HEREOF, MORTGAGEE (A)
       COVENANT AND AGREE NOT TO. ELECT A TRIAL BY JURY IN.ANY ACTION OR PROCEEDING.FOR THE RESOLUTION
       OF ANY CONTROVERSY OR CLAIM THAT ARISES OUT OF OR RELATES TO: (I) THIS MORTGAGE; OR 00 ANY
       SECURED OBLIGATION DOCUMENT, WHETHER ARISING IN CONTRACT, TORT OR BY STATUTE (INDIVIDUALLY AND
       COLLECTIVELY, A "CONTROVERSY OR CLAIM"); AND, (B) TO THE EXTENT PERMITTED BY APPLICABLE LAW, WAIVE
       ANY RIGHT TO A TRIAL BY JURY IN ANY CONTROVERSY OR CLAIM TOTHE EXTENT SUCH RIGHT EXISTS NOW OR
       IN THE FUTURE. THE PROVISIONS OF THIS SECTION ARE GIVEN KNOWINGLY AND VOLUNTARILY, AND ARE A
       MATERIAL INDUCEMENT FOR THE PARTIES ENTERING INTO THE SECURED OBLIGATION DOCUMENTS.
               43.       ORAL AGREEMENTS OR ORAL COMMITMENTS TO LOAN MONEY.EXTEND CREDIT OR TO
       FORBEAR FROM ENFORCING REPAYMENT OF A DEBT ARE NOT ENFORCEABLE UNDER WASHINGTON LAW:
               Grantor is signing this Mortgage effective as of the day and year first Written above..

                                                                     GRANTOR.
        Address for Notices:                                          3E PROPERTIES, a Washington general partnership
        1427 N 1st Ave
        Pasco, WA 99301

        Alternate address for notice by U.S. Mall:
        PO Box 28.13
        Pasco, WA 99302                                                     sIODY DEE EAST      AY
                                                                            Re net/



                                                                      By:
                                                                            CO ALLEN EAST
                                                                            P ner


                                                                      By
                                                                            DEBBY ASTERDAY
                                                                            Partner




       3E Properlies/EFP MCA 2018
       Mortgage, Assignmentot Rents and Security Agreement
                                                                     12




                                                                                                                                              Exhibit C
                                                                                                                                              Exhibit C
                                                                                                                                          Page 14
                                                                                                                                          Page 14 of
                                                                                                                                                  of 20
                                                                                                                                                     20
Case 4:21-cv-05095-SAB                     ECF No. 1-3        filed 06/21/21             PageID.54 Page 15 of 20

        Case 4:21-cv-05066                      ECF No. 1-2    filed 04/21/21            PageID.62 Page 16 of 21




                                                                By:               ...•
                                                                      GALE ALLEN EASTERDAY
                                                                      Partner




                                                                      KAREN      UISE EASTERDAY
                                                                      Partt►er




         3E PropertiesiEEP MCA.2018
        •Modgige; Assignment ofRef* and SpitityAgfeernent
                                                                13




                                                                                                                  Exhibit C
                                                                                                                  Exhibit C
                                                                                                              Page 15
                                                                                                              Page 15 of
                                                                                                                      of 20
                                                                                                                         20
Case 4:21-cv-05095-SAB                           ECF No. 1-3               filed 06/21/21                 PageID.55 Page 16 of 20

         Case 4:21-cv-05066                          ECF No. 1-2            filed 04/21/21              PageID.63 Page 17 of 21




       STATE OF WASHINGTON
                                                              )ss
       COUNTY OF FT/ik,ri

                  On this      011' day of 111,if-it-i                -,14" , before me, the undersigned, a Notary Public in and for the
       State of Washington, duly commissioned and sworn, personally appeared JODY DEE EASTERDAY, to me known to bathe
       Partner of 3E PROPERTIES, a Washington general partnership, the general partnership that executed the foregoing Instrument
       and acknowledged the said instrument to be the free and, yoluntary act of and deed of said general partnership, for the usessand
       purposes therein mentioned, and on oath stated that        0,06Qp        da.A.-) authorized to execute the said instrument and
       that the seat affixed is the [company/corporate] seal of said denerai partnership-
                   Given under my hand and seal of officathis 3611) day of               cfy.:t              ,1f i4k:


                                                              Notary Public residing at Rif ; t,U ,    Viet      (-;'`ft           5,
                                                              Printed Name!.            it-vi n         - 4-h e-0.4%;‘"ft,
                                                              My Commission Expires.,         r (I ta        ;




                                                                                                                        •Pittifk


       STATEOF WASHINGTON
                                                              ) SS
       COUNTY OF                         ' lln
                               nr
                 Oil this ,/ v v) day of I IVVItit                   , Z 1IS•, before me, the undersigned, a Notary Publicin and for the
       State of Washington, duly. commissioned antrsworn, personally appeared CODY ALLEN EASTERDAY; to me known to be the
       Partner of 3E PROPERTIES, a Washington general partnership, the general partnership that executed the foregoing instrument
       and acknowledged the said Mstruinentlo he the free and voluntary act of and deed of said genera] partnership;, for the Uses and
       pufposes therein mentioned, and on oath stated that e f..t,          S Leda,i authorized to execute:the said instrument and
       that the seal affixed'is the [company/corporate] seal of said eneral partnershl
                   Given under my hand and.seal of office this 43(11''' day of       il,tntI
                                                                             tv-o ("j
                                                              Notary Public residing it P/Af3 d, (,14{-142., )i
                                                              Printed Name;          - 6(.4-;•11,4- r1 6(•
                                                                                                       (ii
                                                                                                                 1.•    A ki
                                                              My Commissi0n Expires;.             S/

                                                                                                                             •




       3E PropediesiEFP MCA 2018
       Mortgage, AssignMent ofRefits and Security Agreement
                                                                           14




                                                                                                                                               Exhibit C
                                                                                                                                               Exhibit C
                                                                                                                                           Page 16 of
                                                                                                                                           Page 16 of 20
                                                                                                                                                      20
Case 4:21-cv-05095-SAB                       ECF No. 1-3              filed 06/21/21                          PageID.56 Page 17 of 20

       Case 4:21-cv-05066                      ECF No. 1-2            filed 04/21/21                 PageID.64 Page 18 of 21




        STATE OF WASHINGTON
                                                             ) SS
        COUNTY OF,        Triutr\V?
                                  ts-rh
                   On this ) 0           day of    1,kr                       , before roc, the undersigned, a Notary Public In and for the
        State of Washington, duly.commissioned and sworn, personally appeared DESBY EASTEROAY, to me known to be the Partner
        of 3E PROPERTIES, a Washington general partnership, the general partnership that executed the foregoing instrument and
        acknowledged the said instrument to be the free and voluntary act of and deed' of said general partnership, for the uses and
        purposes therein mentioned, and on oath stated that ,`tit!,01-A,1 h\c-Ate/..Vbi authorized to execute the said instrument and
        that the seal affixed is the [company/corporate] seal of said general partnership.
                                                                   i,
                   Given under my hand and seal of office this "'        day of lIA(5f ,,j               704%
                                                                 k-oLt....„..„) a
                                                             Notary Public residing at  PA    t..0,                               e,11
                            t!                               Printed Name         aE.at t% t.




                                                                                                                              f
                                                                                                                         fi
                                                                                                          0
                                  '
                     .-4k••••                                My Commission EXpires:       r 17-O 2.
                              . •
                        tIOTANk
                       PUBLIG
                            08,

                    . °010 t011ittV41


        STATE OF WASHINGTON
                                                             )SS
        COUNTY OF         .fizo..42
                                    111                                 4
                  On this            . day of FAIA                     Pv , before me, the undersigned Notary Public in and for the
        State of Washington, duly commissioned and 'Sworn, personally appeared GALE ALLEN CASIO:MAY, to me known to be the
        Partner of 3E PROPERTIES, a Washington general partnership, the general partnership that executed the foregoing instrument
        and acknowledged the said instrument to be the free alt votunkary act of and deed of said general partnership, for the uses and
        pumeses therein,mentioned, and on oathstated that (IAA-L.                    cul authorized to execute the said instrument and
        that the seal affixed is the [companytcorporatel seal of said general partnership/
                   Given under My hand andseal oftiffice this               day-of I 11Ao\L(..6                         , 7;0 V.
                                                                                       61( 0.--i 24
                                                             Notary Mlle residing ,at    „11O,%3              , Li1(4.44iT
                                                                                                                          s
                                                             Printed Name;       1,1:GLA-4-ci
                                                                                                   i i•       f
                                                                                                                          14);(0 ,1°'* ..            4.
                                                             My Commission Expires:                               z••               f:V   r



                                                                                                                                              . ••




        3E Prenerties)EFP MCA 2018
        Mortgage, Assignment ofRents atfd SeculityApernent
                                                                            15




                                                                                                                                                              Exhibit C
                                                                                                                                                              Exhibit C
                                                                                                                                                          Page 17
                                                                                                                                                          Page 17 of
                                                                                                                                                                  of 20
                                                                                                                                                                     20
Case 4:21-cv-05095-SAB                                    ECF No. 1-3                filed 06/21/21                 PageID.57 Page 18 of 20

        Case 4:21-cv-05066                                       ECF No. 1-2         filed 04/21/21           PageID.65 Page 19 of 21




       STATE OF WASHINGTON
                                                                       ) SS
       cduNny                                 \
                  On this D r~1 day of i. 1/16)lit                   ZVI?) before me, the undersigned, a Notary Public in and for the
       State of Washington, duly commissioned and sworn, personally appeared KAREN LOUISE EASTERDAY to me known to be the
       Partner of 3E PROPERTIES, a Washington general partnership, the general partnership that executed the foregoing instrument
       and acknowledged the said instrument to be the free and voluntaltact of and deed of said general partnership, for the uses and
       purposes therein mentioned, and on oath stated that 141-Z4-11 ta.',11.-PAO-L-1 authorized to execute the said instrument and
       that the seal affixed is the [companykorporate] seal of said general partnership
                                                              ,A^ ryl
                 Given under my hand and seal of office this N   Li    day of 117IA Cm.4t         , 1011(?,,


                                  %%%ti I lull,                        Notary. Public resitting at    Pp, 4 CO. U.    611i ft;tiro n
                            0 0‘R.Y N ,4                               Printed Name:         i,-6t)..A.   n (:",?
                   .,;•.'.."""„„.k>-•0
                                     .-•551,,,,
                                         — -•,• Aie
                 -. • -AD                       e•                                                         OW         t
                .....
                       ..C,
                                  0              # .
                                                    P ,....s.
                                                  0f..     ...
                                                                       My Commission Expires:,
                       •      ti t 0   TA          ‘"
                                                    w.
              m.   co •
                      •
                    v,:     PUBLIC
                              ,- • • •
                              WAS'i-ko ,S1
                                         4/
                           `iii Mit




       3E Prolierties/EFP MCA 2018
       Mortgage Assigqmont of Rents. and Security Agreement
                                                                                      16.




                                                                                                                                            Exhibit C
                                                                                                                                            Exhibit C
                                                                                                                                        Page 18
                                                                                                                                        Page 18 of
                                                                                                                                                of 20
                                                                                                                                                   20
Case 4:21-cv-05095-SAB                ECF No. 1-3           filed 06/21/21            PageID.58 Page 19 of 20

        Case 4:21-cv-05066              ECF No. 1-2           filed 04/21/21          PageID.66 Page 20 of 21




                                                            EXHIBIT A
                                                3E PropertiesiEFP MCA 2018
                                 MORTGAGE, ASSIGNMENT OF RENTS AND SECURITY AGREEMENT

                                                  Legal.DescrIption of Real Estate
                                                    Franklin County, Washingtort




          Patce(. A: (1f1-2"I-032)                                                                ;tol0f444
                                                                                                    ;,
                                                                                                       •

          Lot . as delineated on Short Flat No.        recorded under Auditor's Recording"Vpi.,.%!,,t,3694; ieCdrlis
          Franklin County, Washinywn„                                                     •      •••              •
          F'arcel   x.1212231=0'91)

          Lot os delineated on Short Rat No. 98-09, oreco        d under Auditor's Recorcling No,' 5'53694; record; of
          Franklin C:ounoy, Washingten.                                                                  .:




                                                                                                                             Exhibit C
                                                                                                                             Exhibit C
                                                                                                                         Page 19
                                                                                                                         Page 19 of
                                                                                                                                 of 20
                                                                                                                                    20
Case 4:21-cv-05095-SAB                      ECF No. 1-3                  filed 06/21/21               PageID.59 Page 20 of 20

       Case 4:21-cv-05066                      ECF No. 1-2               filed 04/21/21              PageID.67 Page 21 of 21




                                                                      EXHIBIT B
                                                    3E Properties/EFP MCA 2018
                                     MORTGAGE, ASSIGNMENT OF RENTS AND SECURITY AGREEMENT

                                                                 Additional Property
                           associated with Mortgage by 3E Properties on land located in Franklin County, Washington
                                                       (list specific additional Property, if any)




       All refrigeration equipment affixed to the real estate as part of the storage facilities


       Leases to Easterday Farms Produce, Co




                                                                                                                               Exhibit C
                                                                                                                               Exhibit C
                                                                                                                           Page 20
                                                                                                                           Page 20 of
                                                                                                                                   of 20
                                                                                                                                      20
